Case 5:23-cv-05118-TLB Document 106-8   Filed 11/01/23 Page 1 of 2 PageID #: 2599




                        EXHIBIT 7
   Case5:23-cv-05118-TLB
  Case  7:20-cv-00480-MFU-RSB Document
                         Document 106-8 6Filed
                                           Filed 09/16/20Page
                                               11/01/23   Page  1 of
                                                              2 of   1 Pageid#:
                                                                   2 PageID      24
                                                                            #: 2600

                                     UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DISTRICT OF VIRGINIA
Matthew Brian Saunders
PlaintffIs)

V.                                                                             Civil Action No.: 7:20-CV-00480-MFU

Gala North America, Inc. a.k.a. Korona Candles Inc.
Defendantiv

         DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A DIRECT FINANICAL
                                     INTEREST IN LITIGATION
ONLY ONE FORM NEEDS TO BE COMPLETED FOR A PARTY EVEN IF THE PARTY IS REPRESENTED BY MORE THAN ONE ATTORNEY. DISCLOSURES MUST BE FILED ON
BEHALF OF INDIVIDUALS AS WELL AS CORPORATIONS AND OTHER LEGAL-ENTITIES. COUNSEL HAS A CONTINUING DUTYTO UPDATE THIS INFORMATION.

     IF YOU ANSWER "YES" TO ANY OF THE FOLLOWING QUES1IONS, THIS STATEMENT MUST BE FILED IN ECF AS A POSITIVE CORPORATE DISCLOSURE STATEMENT.


Pursuant to Standing Order entered May 15, 2000.
Gala North America, Inc. a.k.a. Korona Candles Inc.                who is      Defendant
(Name of party you represent)                                                  (Plaintiff/Defendant)


makes the following disclosure:

1. Is the party a publicly held corporation or other publicly held entity?
               Yes             No

2. Does the party have any parent corporations?
          D Yes          El No

      If yes, identify all parent corporations, including grandparent and great grandparent corporations:
       Korona Candles Poland, GALA Global GmbH and Equistone.

3. Is 10 percent or more of the party's stock owned by a publicly held corporation or other publicly held entity?
           ['Yes              No

      If yes, identify all such owners:



4. Is there any other publicly held corporation or other publicly held entity that has a direct financial interest in the outcome
   of the liti ation?
                Yes       El No
      If yes, identify all such owners:



5. Is the party a trade association?
           ID Yes          ElNo
      If yes, identify all members of the association, their parent corporations, and any publicly held companies that own ten (10%)
      percent or more of the party's stock:




                                   gnature
